           Case 2:07-cr-00201-KJM Document 33 Filed 05/31/07 Page 1 of 2


1    DANIEL J. BRODERICK
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     RACHELLE BARBOUR, BAR # 185395
3    Assistant Federal Defenders
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5

6

7
                    IN THE UNITED STATES DISTRICT COURT
8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )         Cr.S. 07-0201-FCD
11                                 )
                    Plaintiff,     )
12                                 )
          v.                       )         STIPULATION AND ORDER TO
13                                 )         EXTEND TIME FOR STATUS
     ROBERT ALLEN BOHANNA and      )         CONFERENCE AND EXCLUDE TIME
14   NORMAN GRESHAM III,           )
                                   )         DATE: June 25, 2007
15                  Defendant.     )         Time: 10:00 a.m.
     ______________________________)         Judge: Frank C. Damrell Jr.
16

17

18        Defendant ROBERT BOHANNA, by and through his counsel, DENNIS
19   S. WAKS, Supervising Assistant Federal Defender, defendant NORMAN
20   GRESHAM III, by and through his counsel CHRISTOPHER HAYDN-MYER,
21   and the United States Government, by and through its counsel,
22   WILLIAM S. WONG, Assistant United States Attorney, hereby
23   stipulate that the status conference set for June 4, 2007 be
24   rescheduled for Monday, June 25, 2007 at 10:00 a.m. for both
25   defendants.
26        This continuance is being requested because both defense
27   counsel require additional time to review discovery, discuss the
28   case with the government, and pursue investigation.

                                         1
             Case 2:07-cr-00201-KJM Document 33 Filed 05/31/07 Page 2 of 2


1           The parties submit that the ends of justice are served by
2    the Court excluding such time, so that they may have reasonable
3    time necessary for effective preparation, taking into account the
4    exercise of due diligence.       18 U.S.C. § 3161(h)(8)(B)(iv) (Local
5    T4).   In particular, the time is required so that the parties can
6    discuss a proposed disposition and conduct investigation.
7

8 DATE: May 30, 2007                          Respectfully Submitted,
9                                             McGREGOR W. SCOTT
                                              United States Attorney
10

11                                             /s/ Dennis S. Waks for
                                              WILLIAM S. WONG
12                                            Assistant U.S. Attorney
13

14
     DATED: May 30, 2007                      /s/ Rachelle Barbour
15                                            Rachelle Barbour
                                              Assistant Federal Defender
16

17 DATED: May 30, 2007                        /s/ Dennis S. Waks
                                              Supervising Assist. Fed.
18                                            Defender
                                              For ROBERT BOHANNA
19

20 DATED: May 30, 2007                        /s/ Christopher Haydn-Myer
                                              CHRISTOPHER HAYDN-MYER
21                                            Attorney for
                                              NORMAN GRESHAM, III
22

23 IT IS SO ORDERED.

24
     Dated: May 31, 2007
25

26

27
                                    _______________________________________
                                    FRANK C. DAMRELL, JR.
28                                  UNITED STATES DISTRICT JUDGE

                                          2
